Case 4:22-cv-00074-BMM Document 100-14 Filed 08/08/23 Page 1 of 3

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Attorneys for John Kevin Moore

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
GREAT FALLS DIVISION

CHRISTOPHER TRAVIS, individually
and derivatively on behalf of MILK
RIVER HUNTING PRESERVE, LLC,
a dissolved Montana Limited Liability
Company,

Cause No. CV-22-74-GF-BMM

Plaintiff,
vs.
JOHN KEVIN. MOORE, et. al.,

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Defendants. )
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DEFENDANT’S RESPONSES TO PLAINTIFFS’ FIRST SET OF
REQUESTS FOR ADMISSION

EXHIBIT

Defendant John Kevin Moore's Responses to Plaintiffs’ Requests for Admission - 1

Case 4:22-cv-00074-BMM Document 100-14 Filed 08/08/23 Page 2 of 3

any portion of the insurance premiums concerning the real property owned
by Milk River Hunting Preserve since June 12, 2017.

4. Admit that you have not paid any portion of the electricity or water bills
concerning the real property owned by Milk River Hunting Preserve since at
least October of 2016.

RESPONSE: Denied. However, it is admitted that Mr. Moore has not paid
any portion of the electricity or water bills concerning the real property
owned by Milk River Hunting Preserve since June 12, 2017.

5. Admit that Milk River Hunting Preserve, LLC was administratively
dissolved by the Montana Secretary of State more than five years ago.
RESPONSE: Admitted.

6. Admit that you entered into a five-year lease agreement on behalf of Milk
River Hunting Preserve with Russ Gilbertson for his use of certain real
property owned by Milk River Hunting Preserve, LLC.

RESPONSE: Admitted.

7. Admit that Russ Gilbertson paid $25,000.00 for the lease agreement

discussed in Request Admission No. 6.
RESPONSE: Admitted.
8. Admit that the $25,000.00 paid by Russ Gilbertson for the lease agreement

discussed in Request Admission No. 6 was paid directly to an attorney

Defendant John Kevin Moore's Responses to Plaintiffs’ Requests for Admission - 3

Case 4:22-cv-00074-BMM Document 100-14 Filed 08/08/23 Page 3 of 3

representing you with respect to the charges brought against you by the
United States Department of Justice and/or the Montana Commissioner of
Securities and Insurance.
RESPONSE: Denied. The amount referenced was paid in or about
September or October 2016 by wire transfer to Mr. Moore's attorney
Channing Hartelius. At that time, there were no charges pending by the U.S.
Department of Justice or the Montana Commissioner of Securities and
Insurance.
DATED this 1* day of June, 2023.

/s/ Alexander L. Roots

Alexander L. Roots

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/s/ John M. Pierce

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Defendant John Kevin Moore's Responses to Plaintiffs’ Requests for Admission - 4

